                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
        Plaintiff,                              )
                                                )
        v.                                      )          No. 12-00268-15-CR-W-DGK
                                                )
JOSE ALBERTO ARVIZU,                            )
                                                )
        Defendant.                              )

               ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS

        Pending before the Court are Defendant’s Motion to Suppress (Doc. 441), the

Government’s opposition (Doc. 466), Defendant’s reply (Doc. 490), and United States

Magistrate Judge John T. Maughmer’s Report and Recommendation (Doc. 548). The Court has

also reviewed the transcript from the suppression hearing (Doc. 518) and the admitted exhibits.

        After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, see L.R. 74.1(a)(2), the Court ADOPTS the Report and

Recommendation (Doc. 548) and DENIES Defendant’s Motion to Suppress Evidence (Doc.

441).

        IT IS SO ORDERED.

Date: July 14, 2015                                      /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT




        Case 4:12-cr-00268-DGK        Document 556        Filed 07/14/15     Page 1 of 1
